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  PROB   35                           Report and Order Terminating Probation/Supervised Release
                                            Prior to Original Expiration Date


                          UNITED STATES DISTRICT COUgi7                                                             3 t5
                                                          FOR THE

                                             WESTERN DISTRICT OF TEXAS


               UNITED STATES OF AMERICA

                                v.                                      Crim. No.    A-16-CR-025(01)SS

                      Robert Childs Hartje                        )

          On November 26, 2001, the above named was placed on supervised release for a period of three (3) years. The

supervised releasee has complied with the rules and regulations of supervised release and is no longer in need supervision.

It is accordingly recommended that the supervised releasee be discharged from supervision.




                                                                            Respectfully su mitted,



                                                                            Hector J. Gar    ,   Sr. U.S. Probation Officer



                                                   ORDER OF COURT

          Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision and that the

proceedings in the case be terminated.



          Datedthis        .day      C)L#t.4\of2016




                                                                            Sam Sparks
                                                                            United States District Judge




                                                                                                                                 VI
